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                        AstraZeneca EPIC Stipulation
                                 Exhibit A

              NDC         Drug
              00038014110 ZESTORETIC 10/12.5 TABLET
              00038014510 ZESTORETIC 20/25 TABLET
              00186000131 LEXXEL 5-5MG TABLET SA
              00186000168 LEXXEL 5-5MG TABLET SA
              00186000231 LEXXEL 5-2.5MG TABLET SA
              00186000431 ATACAND 4MG TABLET
              00186000831 ATACAND 8MG TABLET
              00186001631 ATACAND 16MG TABLET
              00186001654 ATACAND 16MG TABLET
              00186003231 ATACAND 32MG TABLET
              00186003254 ATACAND 32MG TABLET
              00186011001 XYLOCAINE 1% VIAL
              00186011201 XYLOCAINE 1% VIAL
              00186011501 XYLOCAINE 1%/EPI 1:100000
              00186012001 XYLOCAINE 2% DENTAL VIAL
              00186012201 XYLOCAINE 2%/EPI 1:200000
              00186012501 XYLOCAINE 2%/EPI 1:100000
              00186013501 XYLOCAINE 0.5% VIAL
              00186013701 XYLOCAINE 0.5% VIAL
              00186014501 XYLOCAINE 1% VIAL
              00186015001 XYLOCAINE 1%/EPI 1:100000
              00186015501 XYLOCAINE 2% VIAL
              00186016001 XYLOCAINE 2%/EPI 1:100000
              00186016254 ATACAND HCT 16/12.5MG TAB
              00186023003 XYLOCAINE-MPF 1% AMPUL
              00186023203 XYLOCAINE IV 2% AMPUL
              00186031521 XYLOCAINE 5% OINTMENT
              00186032001 XYLOCAINE 4% SOLUTION
              00186032254 ATACAND HCT 32/12.5MG TAB
              00186033001 XYLOCAINE 2% JELLY
              00186033036 XYLOCAINE 2% JELLY
              00186033043 XYLOCAINE 2% JELLY SYRINGE
              00186033053 XYLOCAINE 2% JELLY SYRINGE
              00186033653 XYLOCAINE 2% JELLY SYRINGE
              00186035003 XYLOCAINE 5% FLAVORED OINT
              00186036011 XYLOCAINE 2% VISCOUS SOLN
              00186045031 PLENDIL 2.5MG TABLET SA
              00186045058 PLENDIL 2.5MG TABLET SA
              00186045131 PLENDIL 5MG TABLET SA
              00186045158 PLENDIL 5MG TABLET SA
              00186045231 PLENDIL 10MG TABLET SA
              00186045258 PLENDIL 10MG TABLET SA
              00186060631 PRILOSEC 10 MG CAPSULE DR
              00186060668 PRILOSEC 10MG CAPSULE DR
              00186060682 PRILOSEC 10MG CAPSULE DR
              00186074231 PRILOSEC 20 MG CAPSULE DR
              00186074282 PRILOSEC 20MG CAPSULE DR
              00186074331 PRILOSEC 40 MG CAPSULE DR
              00186074368 PRILOSEC 40MG CAPSULE DR
              00186074382 PRILOSEC 40 MG CAPSULE DR
              00186091542 PULMICORT 200MCG TURBUHALER
              00186102603 SENSORCAINE/DEXTR 0.75% AMP
              00186103101 SENSORCAINE 0.25% VIAL



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              NDC         Drug
              00186103301 SENSORCAINE 0.5% VIAL
              00186103401 SENSORCAINE/EPI 0.5%/0.0005
              00186103501 SENSORCAINE 0.5% VIAL
              00186107006 RHINOCORT AQUA NASAL SPRAY
              00186107008 RHINOCORT AQUA NASAL SPRAY
              00186107509 RHINOCORT NASAL INHALER
              00186108805 TOPROL XL 25MG TABLET SA
              00186109005 TOPROL XL 50MG TABLET SA
              00186109205 TOPROL XL 100MG TABLET SA
              00186112385 MORPHINE SULF 20MG/ML SOLN
              00186112495 MORPHINE SULF 10MG/5ML SOLN
              00186115802 MORPHINE 15MG/ML VIAL
              00186119910 M.V.I. 12 COMBO PACKAGE
              00186119931 M.V.I. 12 COMBO PACKAGE
              00186126212 NALBUPHINE 10MG/ML VIAL
              00186126612 NALBUPHINE 20MG/ML VIAL
              00186128401 MEPERIDINE 50MG/ML VIAL
              00186149001 ARM-A-MED 5MG/ML(ALBUTEROL)
              00186149104 ARM-A-MED .83MG/ML(ALBUTER)
              00186151501 EMLA CREAM W/TEGADERM
              00186151503 EMLA CREAM W/TEGADERM
              00186151601 EMLA CREAM
              00186160813 CALCITONIN-SALMON 200IU/ML
              00186183935 M.V.I. PEDIATRIC VIAL
              00186190501 FOSCAVIR 24MG/ML INFUS BTTL
              00186190601 FOSCAVIR 24MG/ML INFUS BTTL
              00186193101 DOBUTAMINE 12.5MG/ML VIAL
              00186198804 PULMICORT .25MG/2ML RESPULE
              00186198904 PULMICORT 0.5MG/2ML RESPULE
              00186410001 ARM-A-VIAL 0.9% (SALINE)
              00310004910 ELAVIL 10MG/ML VIAL
              00310013010 ZESTRIL 5MG TABLET
              00310013034 ZESTRIL 5MG TABLET
              00310013110 ZESTRIL 10MG TABLET
              00310013134 ZESTRIL 10MG TABLET
              00310013173 ZESTRIL 10MG TABLET
              00310013210 ZESTRIL 20MG TABLET
              00310013234 ZESTRIL 20MG TABLET
              00310013273 ZESTRIL 20MG TABLET
              00310013310 ZESTRIL 30MG TABLET
              00310013410 ZESTRIL 40MG TABLET
              00310013510 ZESTRIL 2.5MG TABLET
              00310014110 ZESTORETIC 10/12.5 TABLET
              00310014210 ZESTORETIC 20/12.5 TABLET
              00310014510 ZESTORETIC 20/25 TABLET
              00310020130 ARIMIDEX 1MG TABLET
              00310020920 ZOMIG ZMT 2.5MG TABLET
              00310021020 ZOMIG 2.5MG TABLET
              00310021125 ZOMIG 5MG TABLET
              00310021321 ZOMIG ZMT 5MG TABLET
              00310027110 SEROQUEL 100MG TABLET
              00310027210 SEROQUEL 200MG TABLET
              00310027460 SEROQUEL 300MG TABLET



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              NDC         Drug
              00310027510 SEROQUEL 25MG TABLET
              00310027539 SEROQUEL 25MG TABLET
              00310030020 DIPRIVAN 10MG/ML AMPUL
              00310030022 DIPRIVAN 10MG/ML VIAL
              00310030054 DIPRIVAN 10MG/ML SYRINGE
              00310032115 MERREM 1GM ADD-VANTAGE VL
              00310037510 CEFOTAN 10GM VIAL
              00310037610 CEFOTAN 1GM VIAL
              00310037611 CEFOTAN 1GM PIGGYBACK
              00310037720 CEFOTAN 2GM VIAL
              00310037721 CEFOTAN 2GM PIGGYBACK
              00310037851 CEFOTAN 1GM/50ML PIGGYBACK
              00310037951 CEFOTAN 2GM/50ML PIGGYBACK
              00310040160 ACCOLATE 10MG TABLET
              00310040260 ACCOLATE 20MG TABLET
              00310060018 NOLVADEX 10MG TABLET
              00310060025 NOLVADEX 10MG TABLET
              00310060060 NOLVADEX 10MG TABLET
              00310060430 NOLVADEX 20MG TABLET
              00310060490 NOLVADEX 20MG TABLET
              00310070510 CASODEX 50MG TABLET
              00310070530 CASODEX 50MG TABLET
              00310073060 TAMOXIFEN 10MG TABLET
              00310073130 TAMOXIFEN 20MG TABLET
              00310089110 SULAR 10MG TABLET SA
              00310089210 SULAR 20MG TABLET SA
              00310089310 SULAR 30MG TABLET SA
              00310089410 SULAR 40MG TABLET SA
              00310096036 ZOLADEX 3.6MG IMPLANT SYRN
              00310096130 ZOLADEX 10.8MG IMPLANT SYRN
              61113074231 PRILOSEC 20MG CAPSULE DR




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